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                                                       U.S. Department of Justice

                                                       Timothy J. Shea
                                                       United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                      May 18, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we disclosed by letter dated April 24, 2020, beginning in January 2020, at the
direction of Attorney General William P. Barr, the United States Attorney for the Eastern District
of Missouri (“USA EDMO”) conducted a review of the Michael T. Flynn investigation.
Enclosed is a report documenting a May 5, 2020 interview of Edward William Priestap, the
former assistant director of the FBI’s counterintelligence division, which was conducted by the
USA EDMO. This document is covered by the Protective Order entered by the Court on
February 21, 2018.
                                                      Sincerely,
                                                     TIMOTHY J. SHEA
                                                     United States Attorney
                                                 By:       /s/
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney

Enclosures
